Case 9:23-cv-81433-RLR Document 15 Entered on FLSD Docket 01/12/2024 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                  CASE NO.: 9:23-cv-81433-RLR

  HOWARD COHAN,

         Plaintiff,

  vs.

  KCMCL PINEAPPLE GROVE LLC,
  d/b/a HYATT PLACE DELRAY
  BEACH/PINEAPPLE GROVE,

        Defendant.
  ________________________________/
                             NOTICE OF PENDING SETTLEMENT

         Plaintiff, HOWARD COHAN (“Plaintiff”) , by and through undersigned counsel, pursuant

  to Local Rule 16.4, hereby gives notice that Plaintiff and Defendant, KCMCL PINEAPPLE

  GROVE LLC d/b/a HYATT PLACE DELRAY BEACH/PINEAPPLE GROVE (“Defendant”)

  (collectively “Parties”), have reached an agreement in principle for the resolution of this matter

  and are in the process of finalizing settlement documents. Plaintiff respectfully requests that the

  Court stay all matters and pending deadlines in this action and grant the Parties thirty (30) days to

  finalize the settlement documents and file proper pleadings to close this matter out.



  Dated this 12th day of January, 2024.
Case 9:23-cv-81433-RLR Document 15 Entered on FLSD Docket 01/12/2024 Page 2 of 2




   BY: s/ Jason S. Weiss                   BY:      s/ Christopher J. Whitelock
     Jason S. Weiss                              CHRISTOPHER J. WHITELOCK
     Jason@jswlawyer.com                         Florida Bar No.: 0067539
     Florida Bar No. 356890                      DAVID S. FRANK
     WEISS LAW GROUP, P.A.                       Florida Bar No.: 93906
     5531 N. University Drive                    WHITELOCK & ASSOCIATES,
     Suite 103                                   P.A.
     Coral Springs, FL 33067                     300 Southeast Thirteenth Street
     Tel: (954) 573-2800                         Ft. Lauderdale, FL 33316
     Fax: (954) 573-2798                         Telephone: (954) 463-2001
                                                 Facsimile: (954) 463-0410
      Attorneys for Plaintiff                    E-mail: cjw@whitelocklegal.com
                                                 E-mail: mac@whitelocklegal.com

                                              Attorneys for Defendant
